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IN THE UNITED STATES DISTRICT COURT |
FOR THE SOUTHERN DISTRICT OF INDIANA’ pu
INDIANAPOLIS DIVISION

 

Jeffery Werner,
Plaintiff,
Vv. No.
The OutSource Group, a Missouri

corporation, and Medicredit, Inc., a
Missouri corporation,

4: 08-cv- 08 63-SEB -JMS

Defendants. Jury Demanded
COMPLAINT

Plaintiff, Jeffery Werner, brings this action under the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seg. ("FDCPA\"), for a declaration that Defendants’
debt collection actions violated the FDCPA, and to recover damages for Defendants’
violation of the FDCPA, and alleges:

JURISDICTION AND VENUE

1. This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28
U.S.C. § 1331.

2. Venue is proper in this District because the acts and transactions occurred
here, Plaintiff resides here, and Defendants transact business here.

PARTIES

3. Plaintiff, Jeffery Werner ("Werner"), is a citizen of the State of Indiana,

residing in the Southern District of Indiana, from whom Defendant attempted to collect

a delinquent consumer debt owed originally to St. Vincent’s, and then allegedly owed to

to Medicredit and/or The OutSource Group.
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4. Defendant, The OutSource Group, Inc. (“TOG”), is a Missouri corporation
that acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly
uses the mails and/or the telephone to collect, or attempt to collect, delinquent
consumer debts, including delinquent consumer debts in the Southern District of
Indiana. In fact, TOG was acting as a debt collector as to the delinquent consumer
debts it attempted to collect from Mr. Werner.

5. Defendant, Medicredit, Inc. (“Medicredit”), is a Missouri corporation that
acts as a debt collector, as defined by § 1692a of the FDCPA, because it regularly uses
the mails and/or the telephone to collect, or attempt to collect, delinquent consumer
debts, including delinquent consumer debts in the Southern District of Indiana. In fact,
Medicredit was acting as a debt collector as to the delinquent consumer debts it
attempted to collect from Mr. Werner.

6. TOG and Medicredit are sister corporations and, in all likely events, share
offices, employees and information services. In fact, TOG is the “litigation group” for
Medicredit.

FACTUAL ALLEGATIONS

7. On March 12, 2008, Mr. Werner filed a Chapter 7 bankruptcy petition in a
matter styled In re: Werner, S.D. Ind. Bankr. No. 08-02464-FJO-7. Among the debts
listed on Schedule F of Mr. Werner's bankruptcy petition was the St. Vincnet’s medical
debt that he then allegedly owed to Medicredit, and Medicredit was listed on the
bankruptcy petition regarding the debt. See, excerpt of bankruptcy petition attached as

Exhibit A.
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8. On March 16, 2008, Medicredit was sent notice of Mr. Werner’s
bankruptcy by the court, via First Class U.S. Mail, see, the Certificate of Service to the
Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors & Deadlines, which is
attached as Exhibit B.

9. Nonetheless, Defendants caused to filed a small claims lawsuit against
Mr. Werner on May 16, 2008, in a matter styled TOG v. Jeffery Werner, No. 49K02-
0805 SC 3081 (Marion County, Indiana), to collect the St. Vincent’s debt that was
included in Mr. Werner’s bankruptcy. A copy of this lawsuit is attached as Exhibit C.

10. All of Defendants’ collection actions at issue in this matter occurred
within one year of the date of this Complaint.

11. Defendants’ collection communications are to be interpreted under the
“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,
27 F.3d 1254, 1257 (7th Cir. 1994).

COUNT |
Violation Of § 1692e Of The FDCPA --
False Representation Regarding A Debt That Is Not Owed

12. Plaintiff adopts and realleges {IJ 1-11.

13. Section 1692e of the FDCPA prohibits a debt collector from using any
false and/or any deceptive or misleading representation or means in connection with the
collection of a debt, including, but not limited to, the false representation of the
character, amount or legal status of any debt. See 15 U.S.C. § 1692e(2)(A).

14. Stating in its lawsuit (Exhibit C), that Mr. Werner owed the debt at issue

and demanding payment of it, when, in fact, the debt could no longer be collected from
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Mr. Werner due to his bankruptcy, was a false representation that violates § 1692e of
the FDCPA. Randolph v. IMBS, Inc., 368 F3d 726, 728-730 (7th Cir. 2004).

15. Moreover, Medicredit falsely represented to TOG that the debt at issue
could be collected and/or the Defendants falsely represented to their attorney, B. Scott
Hibbard, that the debt at issue could be collected.

16. Defendants’ violations of § 1692e of the FDCPA renders them liable for
actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §
1692k.

COUNT II
Violation Of § 1692c(a)(2) Of The FDCPA —
Communicating With A Consumer Represented By Counsel

17. Plaintiff adopts and realleges fj 1-11.

18. Section 1692c(a)(2) prohibits a debt collector from communicating with a
consumer if the debt collector knows the consumer is represented by an attorney with
respect to such debt and has knowledge of, or can readily ascertain, such attorney's
name and address. See, 1692c(a)(2).

19. Defendants were given direct, written notice, through Plaintiffs
bankruptcy, that Plaintiff was represented by an attorney in connection with the debt at
issue. By filing the May 16, 2008 lawsuit against Mr. Werner and directly serving it upon
him (Exhibit C), despite notice that he was represented by bankruptcy counsel in
connection with this debt, Defendants violated § 1692c(a)(2) of the FDCPA.

20. Defendants’ violations of § 1692c(a)(2) of the FDCPA renders them liable
for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.
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PRAYER FOR RELIEF

Plaintiff, Jeffery Werner, prays that this Court:

1. Declare that Defendants’ debt collection actions violated the FDCPA;

2. Enter judgment in favor of Plaintiff Werner, and against Defendants, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by

§1692k(a) of the FDCPA; and,

3. Grant such further relief as deemed just.

JURY DEMAND

Plaintiff, Jeffery Werner, demands trial by jury.

Dated: June 25, 2008

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One of Plaintfff's Attor,

 
